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                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE SOUTHERN DISTRICT OF ILLINOIS


UNITED STATES OF AMERICA                        )
                                                )
       Plaintiff,                               )
                                                )
vs.                                             )      No. 22-CR-40007-JPG
                                                )
MICHAEL E. PIERCE,                              )
                                                )
       Defendant.                               )



              NOTICE OF ATTORNEY APPEARANCE FOR DEFENDANT

       Melissa A. Day, Assistant Federal Defender, hereby gives notice of her entry of

appearance as counsel for defendant.

                                                    Respectfully submitted,

                                                    /s/Melissa A. Day
                                                    MELISSA A. DAY
                                                    Assistant Federal Defender
                                                    401 W. Main Street
                                                    Benton, IL 62812
                                                    Tele: 618-435-2552


                               CERTIFICATE OF SERVICE

       I hereby certify that on April 8, 2022, I electronically filed the foregoing document with
the Clerk of Court using the CM/ECF system which will send notification of such filing to the
following:

               AUSA Casey Bloodworth

                                            /s/Melissa A. Day
                                            Melissa A. Day
                                            Assistant Federal Defender
